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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
FEB 27 2024 Pw1:00
UNITED STATES OF AMERICA FILED - USDC - FLMD - TRA
v. CASE NO. 8:22-cr-188-VMC-AAS

18 U.S.C. § 922(g)(1)

(Possession of a Firearm or
Ammunition by a Convicted Felon)

JOSEPH WALKER
SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE

(Possession of a Firearm or Ammunition by a Convicted Felon)
On or about June 26, 2021, and July 15, 2021, in the Middle District of
Florida, the defendant,
JOSEPH WALKER,
knowing that he had previously been convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including the following offenses
committed on occasions different from one another:
1. Sale of Controlled Substance (Oxycodone), on or about April 7,
2011, for an offense occurring on January 21, 2011;
2. Sale of Controlled Substance (Cocaine), on or about April 7, 2011,
for an offense occurring on January 26, 2011;
3. Possession of Cocaine, on or about March 6, 2012;

4. Fleeing to Elude, on or about July 14, 2015;
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5. Aggravated Assault on or about December 11, 2017, for an offense
occurring on or about June 17, 2017; and
6. Possession of Cocaine on or about December 11, 2017,
did knowingly possess, in and affecting interstate and foreign commerce, a firearm
and ammunition, that is, a Glock 22 firearm, a Smith & Wesson M&P firearm, 2
silver magazines, 2 black magazines, 96 rounds of 9mm ammunition, and 65 rounds
of .40mm ammunition.
It is further alleged that the defendant has at least three previous convictions
for a violent felony or a serious drug offense, committed on occasions different from
one another, pursuant to 18 U.S.C. § 924(e)(1).

In violation of 18 U.S.C. §§ 922(g)(1) and 924(e).
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FORFEITURE

1. The allegations contained in Count One are incorporated by reference
for the purpose of alleging forfeiture pursuant to the provisions of 18 U.S.C. § 924(d)
and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 922(g), the defendant
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

2461(c), all firearms and ammunition involved in or used in the violation.

3. The property to be forfeited includes, but is not limited to, the

following: a Glock 22 firearm, a Smith & Wesson M&P firearm, 2 silver magazines,

2 black magazines, and assorted ammunition.

4, If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property under the
provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL,

Foreperson ~_ a

ROGER B. HANDBERG
United States Attorney

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Samantha E. Beckman
Assistant United States Attorney

James C. reston, i
Assistant-United States Attorney
Chief/ Violent Crimes and Narcotics Section

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February 24

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UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

VS.

JOSEPH WALKER

SUPERSEDING INDICTMENT

Violations: 18 U.S.C. § 922(g)(1)

A true bill

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Filed in open court this 27" day

of SS 2024.

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